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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      )
                                              )
                                              )
               v.                             )       No. 22-cr-15 (APM)
                                              )
       JOSEPH HACKETT                         )


                    JOSEPH HACKETT’S SENTENCING MEMORANDUM

       Defendant, Joseph Hackett, by and through his undersigned counsel, Angela Halim, Esq.,

hereby respectfully submits this memorandum to aid the Court in fashioning the minimally

sufficient sentence that will accomplish the goals of sentencing as set forth in 18 U.S.C. §

3553(a). At his sentencing hearing, he will move for a downward variance from the correctly-

calculated Sentencing Guidelines and he will urge the Court to primarily focus on alternatives to

incarceration in fashioning a just and appropriate sentence. Mr. Hackett respectfully asserts that,

of all the types and kinds of sentences available, at best, incarceration serves merely one of the

enumerated factors set forth at 18 U.S.C.§ 3553(a)(2)(A)-(D)(the need for the sentence

imposed): “to reflect the seriousness of the offense, to promote respect for the law, and to

provide just punishment for the offense.” Id. at (A). Given all that Mr. Hackett has endured

since January 6, 2021, the extraordinary weight of collateral consequences will leave an indelible

mark and punish him for the rest of his life. He has been – and will continue to be - punished, to

a degree greater than that required by subsection (a)(2)(A). For reasons set forth in greater detail

below, Mr. Hackett will argue that the minimally sufficient sentence is one consisting of a

combination of alternatives to incarceration; such a sentence, in addition to the punishing effects
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of collateral consequences, will reflect the seriousness of the offense, promote respect for the

law, and satisfy all the other goals of sentencing.

        At this point, following two lengthy trials and a multitude of pre-, mid-, and post-trial

motion litigation, the Court has before it a trove of information and argument. As such, Mr.

Hackett will focus this memorandum on issues unique to him alone. He joins the legal

arguments raised by counsel for his co-defendants with respect to application of the following

Sentencing Guideline enhancements: eight-level enhancement pursuant to U.S.S.G. §

2J1.2(b)(1)(B); three-level enhancement pursuant to U.S.S.G. § 2J1.2(b)(2); two-level

enhancement pursuant to U.S.S.G. § 2J1.2(b)(3); three-level upward adjustment pursuant to

U.S.S.G. § 3B1.1(b).

   I.      MR. HACKETT’S PERSONAL HISTORY AND CHARACTERISTICS

   Mr. Hackett is a skilled chiropractor, dedicated to his family and his community, and an avid

cyclist and hiker who prefers the outdoors to the indoors. He is kind, gentle, affable, and mild-

mannered; but for a brief period of time in 2020, he did not concern himself with politics. He

lived simply and humbly in Sarasota, Florida, focused on his wife, daughter, and literally anyone

who was in need of chiropractic services. As a former patient and friend, Pat McClain, writes,

Mr. Hackett is “a compassionate, caring man and a tremendous healer.” Pat McClain letter,

attached at A-18. No one who knows him - Mr. Hackett included - can reconcile the person he is

with his new life-long label: convicted felon, seditious conspirator.

   The photo on the following page shows Mr. Hackett and his wife, posing for a candid family

photo with their daugther. (For the purposes of this public filing, Mr. Hackett has cropped out his

daughter’s image.) This is Mr. Hackett:




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Mr. Hackett attaches to this memorandum 25 letters authored by members of his community, his

friends, and current or former patients.

               A-1     Brett Bennett
               A-2     Felicia Bennett
               A-3     Victoria Berden
               A-4     Jordan Cicora
               A-5     Dennis Corona
               A-6     Nancy Corona
               A-7     Tim Cossey
               A-8     Colleen Davis
               A-9     Nick and Denise Drizos
               A-10    Timothy Duncan
               A-11    Jim Easley
               A-12    Marshall Eckelman
               A-13    Stephen Edwards
               A-14    Steven Gaeta
               A-15    Deena Hackett
               A-16    Dianne D. Hagan
               A-17    John Marks
               A-18    Pat McClain
               A-19    Lynne Norwood

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               A-20    David Seifer
               A-21    RuthAnn Stryhas
               A-22    Calvin Underwood
               A-23    Dr. Kim Walters
               A-24    Jodi Webber
               A-25    Lois Winkler

       A review of the attached letters reveals that Mr. Hackett is a beloved member of his

community who gave generously of his skills and expertise; he is highly regarded as a loving

father and husband, a kind and caring friend, and a selfless person. Those who know him best

describe his character in the following ways.

               Joe is a kind considerate individual who I know wouldn't hurt
               anybody on purpose. I have trusted him with my children’s life on
               several occasions biking and camping in the mountains, staying out
               for days in the wilderness. I have been friends with him for 25 plus
               years we have spent hours and hours and hours together. I feel that
               Joe is a very loving, trusting individual and I would trust him with
               anything that I have that he would need. I know Joe has helped
               many people in this community in the areas that he's been involved
               in.

Brett Bennett letter, attached at A-1.

               My first impression of him was that he was kind, funny, and
               wanted everyone around him to be happy. He was and still is a
               people pleaser. Joe always made you feel like you’ve known him
               for years even if it was the first time talking to him (and I like that
               because I too have that type of personality.)

               A memory that really sticks out to me that shows Joe’s kindness
               was a time I went to hang out at their home with my oldest son. He
               and their daughter became little buddies since they were so close in
               age. They played so great together. Some of the neighborhood kids
               said something to my son that upset him. He was crying a little and
               Joe stepped right in and let him know that it was ok to be upset and
               a little sensitive because growing up, he was a sensitive child. It
               made my son (9 at the time) feel so much better and instantly
               calmed him down in a moment where not much I could have said
               would have helped. He really looked up to Joe and took everything
               he said to heart. I really appreciated that moment where a grown
               man showed kindness and vulnerability to a child to help them
               overcome a difficult moment.

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Victoria Berden letter, attached at A-3.

       Jordan Cicora, a close friend of ten years, describes Mr. Hackett as “a loving and

attentive father, husband, and friend. He is selfless and kind, frequently showing compassion to

those in physical pain even at times putting other’s needs before his own.” She further writes,

               [h]e listens with care when people speak to him; it’s a quality he
               exhibits effortlessly. He is a man of conviction and faith and seeks
               God daily for wisdom, guidance, and discernment. Joe lives by
               integrity and honesty, even when it’s hard. He has encouraged
               many people through his practice and in his personal life and has
               been generous to our community with his time and talents. He has
               a zeal for life and works through adversity with grace.

               Joe has consistently demonstrated sound character and shows
               mutual respect for the opinions of others. He is always striving to
               improve himself and motivate others to do likewise while
               remaining humble, sincere, and ready to examine his
               shortcomings.

Jordan Cicora letter, attached at A-4.

       Nick and Denise Drizos, family friends and patients, call Mr. Hackett “our beloved kind

and gentle doctor,” and they describe him as “caring, kindhearted, and gentle.” Nick and Denise

Drizos letter, attached at A-9. Jim Easley, a patient and friend of 15 years, writes that he hopes

the Court can see Mr. Hackett as he does, “a responsible, caring individual that would never

intentionally do anything illegal, immoral or unethical.” Because, as Mr. Easley continues

writing, “[i]t’s just not his nature.” Jim Easley letter, attached at A-11. John Marks, another

patient and friend echoes the sentiments of so many others: “[o]ver all, after all this time, my

opinion of Joe is that he is kind hearted. He is always invested in the welfare and health of his

friends and patients.” John Marks letter, attached at A-17.

       Pat McClain has known Mr. Hackett for 23 years in a variety of capacities. She describes

him, in part, as follows:


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               In all of those years of knowing Joe, I have known him to be a
               compassionate, caring man and a tremendous healer. He is
               extremely concerned with the health and welfare of his patients
               and has never shown any behavior other than that of a doctor, a
               concerned citizen and a good man who is invested in his family,
               his work and community. He is a loving husband and devoted
               father . . . Joe has always been an asset to those he served, usually
               putting aside his own health and physical care, in order to care for
               the needs of his patients.

Pat McClain letter, attached at A-18.

       Fellow chiropractor and friend Kimberly Walters, DC, describes Mr. Hackett as

               a compassionate and genuinely caring provider, who is intelligent
               and takes a great interest in his patient’s care and progress. He has
               a very calm and almost laid back nature about him. I find him to
               be the same with his family – loving, caring and nurturing and very
               proud of his wife and daughter.

Kimberly Walters letter, attached at A-23.

       Patient and friend, Jodi Webber, writes about Mr. Hackett, in part,

               He is one of the kindest, gentlest people I know. He loves the
               outdoors – hiking, biking, camping, boating, fishing, etc.. He is a
               Christian & loves his country. He strives to have peace in his life.
               In fact, he stopped reading post several years ago on Facebook
               because it disrupted his peace. I have never known Joe to break
               the rules or do anything illegal.

Jodi Webber letter, attached at A-24.

       Another family friend describes Mr. Hackett:

               Joe has always been laid back and easy going. I believe Joe gave
               up alcohol many years ago. I have never seen him drink alcohol,
               get angry or upset with anyone. He is first and foremost a family
               man. When he speaks about his daughter, his face aways lights up
               the room. He takes great pleasure and pride in helping with her
               home schooling . . . I have always found Joe trying to do the right
               thing whether with his family, friends or patients. He is a very
               gifted and talented Chiropractor and has helped many people get
               out of pain and live pain free. On more than one occasion I know
               of patients that could not pay him for his services and Joe treated
               them anyway. He wanted to make a difference and he has for so
               many, myself included.
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Lois Winkler letter, attached at A-25.

       Mr. Hackett, like all people, has demons to battle. One of his close family friends,

Felicia Bennett, writes candidly about his personality, that

               Joe has had his issues through the years. He has addiction
               disorders. He has dealt with alcoholism for years. He has been
               recovered for a number of years. I have seen him over the years
               deal with issues it has created with commitment and determination.
               I have never seen him with more regret or self disappointment then
               [sic] over this situation, the grief and trauma his involvement has
               caused himself and his family. I have seen him mad, very mad.
               But not violent. He fired a patient one time for being mean to a
               staff member. He does continue to have that addictive personality.
               He goes rock climbing once then goes out the next day and buys
               all the best gear. That kind of thing.

Felicia Bennett letter, attached at A-2.

       Stephen Edwards, a long-time, close friend, writes that Mr. Hackett “went through

substance abuse issues; it was a tremendous challenge for Joe, but he got through it and has been

sober for many years . . . That was a huge character-building experience for him.” Stephen

Edwards letter, attached at A-13. As the Court knows from the final Presentence Report

(“PSR”), Mr. Hackett completed a drug and alcohol treatment program in 2000 and maintained

his sobriety for over 20 years. He broke his sobriety at some point in 2022, while he was

awaiting trial, restricted to his home on strict, home-incarceration conditions, and struggling with

the weight and stress of his pending criminal and civil cases. In the time since his trial, Mr.

Hackett has continued to use alcohol to self-medicate, and he has exhibited signs and symptoms

of depression and anxiety.

       Reading the letters submitted by those who know Mr. Hackett best, his skill,

commitment, and passion as a healer is by far the predominant theme. Mr. Hackett was licensed

by the Florida Board of Chiropractic Medicine as a Chiropractic Physician beginning in 1996. A

copy of several of his professional certifications is attached at Exhibit E. Brett and Felicia
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Bennett, close family friends, credit him with saving Felicia’s life. See Brett Bennet letter and

Felicia Bennett letter, attached at A-1 and A-2, respectively. Brett writes,

                  We had gotten to [Mr. Hackett’s] house and while we were there
                  Felicia suffered a massive Cardiac Arrest. She proceeded to freeze
                  up on Joe and Deena’s couch. Joe was able to diagnose her. He
                  was checking for vital signs and said to me she’s having a heart
                  attack. So, he said we need to get her on the floor. We laid her
                  down and Joe quickly called 911. I could not think and didn’t
                  know what to do, except for scream at my wife to look at me and
                  try to wake her up. Like I said, Joe dialed 911 got the ambulance
                  enroute. From there he started doing chest compressions and
                  keeping her alive for 15 minutes until the EMT’s got there at set up
                  . . .Without him my wife would have died that day, because I had
                  no idea what needed to be done in order to save her life.

A-1, pages 1-2.

Felicia also recalls that fateful day:

                  I went into Cardiac Arrest. My heart stopped. I died! Right there
                  on my dear friends’ couch. Joe immediately began CPR on me
                  and continued it while the EMT’s were called then eventually
                  arrived to take me to the hospital. Joe Hackett saved my life. Brett
                  had no CPR training, Deena was in the shower. If Joe had not
                  acted quickly my heart would have been stopped for 11 minutes
                  while the EMT’s were in transit. Joe Hackett saved my life that
                  day . . . that is the kind of man he is. He is a person who cares
                  deeply. He is a healer. A doctor. . . .

                  I have seen Joe treat people for free who couldn’t afford to pay
                  him. (He did that for us for years.) I’ve seen him reduce his rate for
                  people. . . . He is not a doctor for the benefit to him. He cares. He
                  cares about people. He would never harm anyone intentionally.

A-2, at page 2.

Felicia also describes when Mr. Hackett treated her infant child:

                  I had just had [my 9-10 month old child] to the pediatrician for an
                  ear infection. Dr. Joe told me that many babies have spinal
                  subluxations resulting from the trauma of the birth process. He
                  adjusted [him] for the first time that day. I remember him laying
                  my tiny baby gently across his shoulder and lightly touching him
                  along his spine with two fingers. He also started adjusting [my
                  five-year child] at around the same time.
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Id., at page 1.

        Mr. Hackett treated Victoria Berden’s father; Ms. Berden writes that “[m]y Dad has been

a UPS driver for almost 35 years and has suffered from very painful knees. Joe started treating

him without any expectations of payment. All he cared about was helping my Dad and

eliminating his pain. He cares so much about other people and truly wants nothing more than to

see them get better.” Victoria Berden letter, attached at A-3. Marshall Eckelman and his wife

were both treated by Mr. Hackett. Mr. Eckelman writes that

                  I will not go to another chiropractor because Dr. Joe is
                  knowledgeable and I feel safe with him. He is a good friend and
                  an intuitive, knowledgeable practitioner. His clients feel the same
                  way as to discussions in his waiting room. His patients need him
                  and his expertise, it is very difficult to have a great chiropractor.

Marshall Eckelman letter, attached at A-12.

        90-year old Jim Easley calls Mr. Hackett “the best chiropractor [he has] ever known.” As

someone who began seeing chiropractors at the age of 14 and has experienced chiropractic care

all throughout the United States and overseas, Mr. Seifer credits Mr. Hackett with keeping him

functioning. See David Seifer letter, attached at A-20.

                  I have had knee, hip, and shoulder replacements, all accompanied
                  by considerable pre-surgery pain and stress. Joe was there every
                  step of the way demonstrating continued use of his training,
                  research and education combined with understanding and
                  compassion that benefitted me and his many other patients.
Id.

        Jim Easley writes the following about Mr. Hackett as a healer:

                  In my 60+ years of chiropractic treatments – both before and after
                  back surgery in 1992 – I have seen many different chiropractors.
                  Joe is/was one of the best – he has wonderful hands and can feel
                  every misalignment. He is very thorough and will not stop until
                  everything is in proper alignment. As I have gotten to know him
                  better I realize this is how he feels about everything in life. If there
                  is a problem, he tries to fix it. I know he has been a great help to
                  both my daughter and granddaughter, as well as to me on our
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               annual winter visits. Even during times when his allergies made
               life difficult for him he persisted in doing the best job he could.

Jim Easley letter, attached at A-11.

       Dianne Hagan, now 80, writes that she wishes Mr. Hackett were still in practice. “He

helped so many people and his loss to our community is tremendous.” See Dianne D. Hagan

letter, attached at A-16. She further writes about her experience after falling and breaking her

shoulder. After completing prescribed physical therapy, she was advised that some loss of range

of motion was to be expected and that she had reached “maximum recovery.”

               Dr. Hackett and my massage therapist disagreed and told me that if
               I would work on their prescribed exercise regimen they thought I
               could recover completely. I faithfully followed their directions,
               and to this day I have full range of motion. This is very important
               in allowing one to reach up to retrieve things from shelves or hang
               clothing in closets. When reaching is required, I always mentally
               thank both of them for their knowledge and encouragement during
               the lengthy time it took to get my muscles and tendons stretched
               out as they were before the break. All that help, and he never
               charged me more than the agreed on monthly wellness charge that
               was in place when we met back in 1999.
Id.

       Not only is Mr. Hackett a gifted and skilled chiropractor, contributing to an improved

quality of life for so many individuals in his community, but he gave generously of his services,

whether people could afford to pay him or not. Tim Cossey recounts when Mr. Hackett gifted

treatment to his son:

               My son was attending Sarasota Military Academy and was playing
               Lacrosse for the High School team. As this was stressful on his
               back, I was taking him to Joe for back adjustments on a regular
               basis. Joe, knowing my financial situation at the time during my
               son’s junior year, offered to take care of my son’s adjustments at
               no charge as a future graduation gift. Joe has always been
               empathetic to the needs of others and quick to lend a helping hand.

Tim Cossey letter, attached at A-7.

Colleen Davis explains that Mr. Hackett provided free treatment services to her husband.
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               My husband went to see Joe and he started doing a laser treatment
               on his shoulder and told my husband it should alleviate the pain
               within a few visits. When it did not work right away he told my
               husband that he no longer would charge him for the visits but
               wanted to continue to try the laser treatment. My husband was
               grateful to be able to continue these laser treatments. Eventually it
               worked for him.

Colleen Davis letter, attached at A-8. Lynn Norwood, another former patient, writes,

               I had previously tried a number of other practitioners, with little
               pain relief. I was very impressed with his skill, and so relieved
               from the pain I had suffered for many years. Not only that, but he
               was also not the type of doctor that would keep people coming
               back for many months of treatments in order to make more money.
               I met many of his patients over the ensuing years who had also
               been hurt and helped by him. Everyone agreed not only about his
               expertise, but also his ethics. Occasionally someone would come
               out from the treatment room, and not stop to pay for their
               treatment. When I asked him about it, he said ‘I treat some people
               for free who can’t afford to pay me.’ That is hard to find.

Lynne Norwood letter, attached at A-19.

       II.     PERTINENT CIRCUMSTANCES OF THE OFFENSE

       For the purposes of this sentencing memorandum, Mr. Hackett will focus on

circumstances not previously presented to the Court through trial, hearings, and other court

proceedings. Mr. Hackett maintains his standing objection to the government’s spin on facts.

       First and foremost, Mr. Hackett did not join the Oath Keepers for any political purpose,

and he certainly did not join the organization to oppose any governmental action or authority.

In the summer of 2020, when the Coronovirus pandemic was raging and still relatively new,

Sarasota experienced the same rioting and violence occurring all across the country following

George Floyd’s murder in broad daylight. Local news media, engaging in fear mongering,

warned of dangerous Black Lives Matters riots and deadly, violent confrontations caused by

members of Antifa.


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       Mr. Hackett’s backyard abuts a road, and across that road is a commercial shopping

complex. He and his family can see the shopping complex from their back door; they vividly

recall the night when rioters and looters attacked various shops in the complex. They listened,

fearfully, as the sounds of sirens and helicopters got closer to them; they hunkered in their home

not knowing whether the vandals would cross that road and enter their residential community,

their backyard. Mr. Hackett was plagued by insecurity: he did not know how to protect himself,

his family, or his household. In their respective letters, his friends and family write about Mr.

Hackett’s love for the outdoors, his affinity for cycling and hiking and camping. Notably absent

from all descriptions of his hobbies and interest is the subject of firearms. Mr. Hackett is not a

hunter, he had no history of engaging in shooting for sport, and he had no specialized experience

with firearms for protection. Mike Adams testified at trial about Mr. Hackett’s inexperience.

       During the pandemic, scared by events he witnessed in his literal backyard, Mr. Hackett

discovered the Oath Keepers and believed he could learn self, family, and community protection

from its members. Mr. Hackett is a follower, not a leader. See Stephen Edwards letter, attached

at A-13; see also, Lois Winkler letter, attached at A-25 (“Joe is certainly not a leader in my

opinion but rather a follower.”) He joined the organization seeking instruction and guidance

from those he perceived to be more experienced than him.

       Tim Duncan, a patient and friend of 10-12 years, writes that

               [s]ince Joe’s arrest, I am confident he has come to the conclusion
               that associating with unknowns could create problems. I am
               confident that Joe was led to believe he was only with Oath
               Keepers in order to help individuals owning their own business to
               protect their properties and businesses from being robbed, looted,
               burned or broken into. In no way did he ever think that his trip to
               Washington DC was for anything else. The charges against him
               for this trip to DC are so unlike his character. He has no military
               background and I never can to this day see how his involvement


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                went from supporting others to attacking others. Again, this
                [charge] does not fit his character at all.

Timothy Duncan letter, attached at A-10.

        Stephen Edwards, a friend for over 20 years, shares the following:

                Joe has told me if he could turn back time he would never have
                gone anywhere near the events of January 6th. He has never even
                spoken to me of any political beliefs. He has never shown any
                signs of violence towards anyone that I have ever seen or heard
                about.

                In fact, I was absolutely flabbergasted when I heard that he had
                been arrested for being in the Capital Building on January 6th. My
                first thought was the only way Joe would hurt anyone is by licking
                them to death, he is like a Labrador that just loves everyone.
                I believe this group of people he got involved with used his kind
                aligning nature and used him for their own ends. Joe is a follower
                not a leader.

Stephen Edwards letter, attached at A-13.

        Jodi Webber, who has known him for 14 years, writes that she remembers “Joe telling me

that he became very concerned for his family’s safety when there were riots not too far from his

quiet neighborhood. He said he could hear guns being shot. I know Joe will never do anything

like this again.” Jodi Webber letter, attached at A-24. Jim Easley writes that, “[i]n the few times

I have talked with Joe since that fateful day I know he sincerely regrets the way that day

unfolded – riotous and destructive more than anyone could have imagined. He and his family

have suffered extreme hardships – personally and financially – as a result.” Jim Easley letter,

attached at A-11.

        III.    COLLATERAL CONSEQUENCES MR. HACKETT IS EXPERIENCING

        Mr. Easley is right; Mr. Hackett and his family have, indeed, suffered extreme hardships

as a result of his arrest, prosecution, conviction, and they will likely continue to impact him and

his family for the rest of his life. It is true that all convicted individuals suffer collateral

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consequences, and, typically, Courts don’t give great weight to those consequences in fashioning

the appropriate sentence. Mr. Hackett respectfully submits that this case is far different than the

typical or ordinary; he submits that the extraordinary weight of collateral consequences far

exceeds his own conduct and wrongdoing and he specifically asks the Court to factor in the

myriad ways he has been – and will continue to be – punished as a result of traveling with the

Oath Keepers to Washington DC in January 2021.

       When the government charged Mr. Hackett with seditious conspiracy alongside Oath

Keeper leader Stewart Rhodes, the Department of Justice issued a press release and a copy of the

unsealed Indictment in the instant matter. See Exhibit C, attached hereto. Although the press

release accurately characterizes the Oath Keepers as a “large but loosely organized collection of

individuals,” the remainder of the press release reads as though the charged co-conspirators were

a highly-coordinated, very organized group of individuals with a shared plan, with unity of

purpose. This, Mr. Hackett submits, is misleading in light of the evidence. As the prosecution

moved forward – in a proceeding that generated substantial media attention and public interest –

the government continued to publicly attribute the conduct of one individual to all charged

defendants. Quite simply, the prosecution enabled irresponsible reporting. For example,

following an evidentiary hearing relating to the first trial, a local television station picked up the

story and reported that “Oath Keeper had ‘death list’ naming Georgia election officials leading

up to Jan. 6 attack, DOJ says” while showing photo insets of just four individuals: Mr. Hackett,

Stewart Rhodes, Jessica Watkins, and Graydon Young. Exhibit D, attached hereto, is a

screenshot of the reporting that Mr. Hackett’s wife took when she saw the story. The implication

was that Mr. Hackett was among a core group of people who maintained this “death list.”




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       Unsurprisingly, Mr. Hackett and his family received threats and harassing

communications, mailed to their home, from June 2022, to February 2023. Exhibit B, attached

hereto, is a compilation of post cards received by mail at his home. A post card bearing a

postmark date of July 11, 2022, warns,

               We true American patriots won’t rest until our DOJ has squashed
               every last one of you J6 insurrectionists like the seditious
               cockroaches that you are. That’s not a threat; it’s a promise!
               Buckle up, buttercup, American justice is coming!
Id.

Another post card, this one postmarked August 1, 2022, warns,

               You know who else have taken oaths which they intend to keep:
               Prosecutors at the Dept. of Justice. They solemnly swore that they
               will preserve, protect and defend the U.S. Constitution against
               ALL enemies, foreign AND DOMESTIC: Domestic enemies like
               violent insurrecionists [sic], like fascist trumptards, like law-
               breaking MAGA maggots, like seditious oaf weepers. Make no
               mistake, oaf weeper, American justice is coming for you.

Id.

       Once he was released from custody in August 2021, Mr. Hackett was confined to his

home on home incarceration with strict conditions. He was not allowed to work; as a result, he

had to close his chiropractic practice and has not been able to work to support himself or his

family since. Perhaps the most tragic of all the collateral consequences is that he may never

again be able to restore his license with the Florida Board of Chiropractic Medicine. Practicing

chiropractic care was so much more than a livelihood to Mr. Hackett; it was his life’s purpose,

his passion. He has resigned himself to the very real possibility that he will never again be

permitted to practice his craft.

       As a direct result of being charged alongside leader Stewart Rhodes, Mr. Hackett was

named a defendant in civil litigation initiated by the District of Columbia, 21-cv-03267, suing


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him for damages in connection with the events on January 6, 2021. In light of his guilty criminal

verdict, it is practically a foregone conclusion that he will also be found civilly liable.

       IV.     OBJECTIONS TO THE FINAL PRESENTENCE REPORT

       Mr. Hackett maintains all of the objections submitted to the draft PSR which are

summarized in the addendum to the final PSR. In addition to those objections already raised,

Mr. Hackett notes objections to paragraphs 173 and 185 in the final PSR. While paragraphs 173

and 173a are technically accurate, Mr. Hackett asks the final report be modified to reflect that he

is currently experiencing symptoms of depression and anxiety as he awaits his final sentence

from the Court. With respect to paragraph 185, Mr. Hackett did submit a completed Financial

Statement and Net Worth Statement to the Probation Office, through counsel, on April 27, 2023.

His submission was not timely, but he did complete and submit the requested forms.

       During the presentence investigation process, Mr. Hackett, through counsel, explained

several times that he was experiencing difficulties obtaining the necessary information because

he was not allowed to use an internet-connected device, he and his wife maintain separate

financial accounts and information, and many of his accounts had closed due to inactivity

between May 2021, and March 2023. Compounding those logistical difficulties, as previously

described, Mr. Hackett lapsed into a depression and simply couldn’t complete the financial forms

in a timely fashion.

       V.      MISCELLANEOUS LEGAL ARGUMENT

       Mr. Hackett is aware of sentencing documents submitted in unrelated cases that cite to

information he wishes the Court to take into consideration prior to his sentencing hearing. For

economy and efficiency, he will cite to memoranda submitted in unrelated cases without

reproducing the voluminous materials here. Attorney Kira Ann West, in a sentencing


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memorandum submitted on behalf of Defendant, Matt Wood, cited to numerous media reports

following the November 2020 election; although Mr. Wood’s case and conduct is wholly

distinguishable from Mr. Hackett’s case, he adopts and joins the argument presented by Ms.

West that dangerous misinformation, generated by the President of the United States and echoed

by individuals in power at the highest levels, was broadcast prolifically. See Matt Brown

Sentencing Memorandum, 21-223-APM (ECF 56, November 7, 2022), Section A, Media

Reports of Stolen Election, pp. 3-9.

       At his sentencing hearing, Mr. Hackett will also address the sentences imposed in a

variety of other January 6 cases in making an argument regarding avoiding unwarranted

sentencing disparities. In criminal number 21-119-CJN, Attorney F. Clinton Broden submitted a

sentencing memorandum on behalf of Defendant Garret Miller. In Section E of that

memorandum, Mr. Broden cited to and briefly summarized the facts and final sentences of

numerous January 6 cases. See 21-119-CJN (ECF 143, February 16, 2023), Section E, Avoiding

Unnecessary Sentencing Disparities, pp. 20-39.

       VI.     CONCLUSION

       For all the reasons set forth more fully herein, and for all the reasons that will be further

articulated at his sentencing hearing, Mr. Hackett respectfully urges the Court to adopt his

guideline calculation and reject the assessments proffered by the government and U.S. Probation:

base offense level 14 pursuant to U.S.S.G. § 2J1.1, +2 pursuant to U.S.S.G. §3C1.1, for a total

offense level of 16. With criminal history category I, the resulting advisory guideline range of

imprisonment is 21-27 months. Further, he will ask the Court to grant his motion for downward

variance.




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          Lastly, Mr. Hackett respectfully asks the Court to accept this Sentencing Memorandum as

timely filed. The Court set a deadline of May 5, 2023, for all sentencing memoranda; Mr.

Hackett filed – and the Court granted – his request to extend the time for filing his sentencing

memorandum to May 7, 2023. With apologies to the Court, he submits the foregoing one day

late.

          Mr. Hackett’s conduct, at all times before, during, and after January 6, 2021, was non-

destructive, non-violent, and non-aggressive. He is a follower, not a leader. He is a healer, not a

destroyer. He prays the Court will see him for who he is: a highly regarded and skilled

chiropractic practitioner, a loving father and husband, a kind and caring friend, and a selfless

person.




                                                       Respectfully submitted,



                                                           /s/ Angela Halim
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                                CERTIFICATE OF SERVICE

        I hereby certify that on this date, I electronically filed the foregoing with the Clerk of
Court using CM/ECF. I also certify that the foregoing is being served this day on all counsel of
record, via transmission of Notices of Electronic Filing generated by CM/ECF.




                                                                /s/ Angela Halim
                                                             Angela Halim, Esq.

Dated: May 8, 2023




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